      CASE 0:18-cv-00886-DWF-DTS Document 59 Filed 08/21/18 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

James Irving Dale,                                     Civil File No. 18-cv-886 (DWF/DTS)

                     Plaintiff,

       v.
                                                       NOTICE OF WITHDRAWAL OF
Tom Roy, Kathryn Halvorson, Nola Karow,              APPEARANCE OF IAN M. WELSH
Nanette Larson, Michelle Jaeckels, Jeffrey,
Haffely, Dahlen (First Name Unknown),
Centurion Of Minnesota L.L.C., David A.
Paulson, Blanchard (First Name Unknown),
Darrin Haugland, Doctor Felt (First Name
Unknown), Anagram International, Heather
Hanson, Ottman (First Name Unknown),
Unknown Department Of Corrections
Employees,       Unknown        MINNCOR
Employees,    Unknown      Centurion    Of
Minnesota LLC Employees, Unknown
Anagram International Employees,

                     Defendants.

To:    Plaintiff James Irving Dale, 1918 Park Avenue, Minneapolis, MN 55404, Pro Se

       Pursuant to Rule 83.7(b) of the Local Rules of the United States District Court for

the District of Minnesota, the undersigned attorney hereby notifies the Court that Ian M.

Welsh requests withdrawal from the case. Assistant Attorney General Kathryn Fodness,

listed as co-counsel, will be attorney of record for State Defendants.
    CASE 0:18-cv-00886-DWF-DTS Document 59 Filed 08/21/18 Page 2 of 2



Dated: August 20, 2018              OFFICE OF THE ATTORNEY GENERAL
                                    State of Minnesota

                                    s/ Ian M. Welsh
                                    IAN M. WELSH
                                    Assistant Attorney General
                                    Atty. Reg. No. 0396287

                                    445 Minnesota Street, Suite 1100
                                    St. Paul, Minnesota 55101-2128
                                    (651) 757-1018 (Voice)
                                    (651) 296-1410 (TTY)
                                    ian.welsh@ag.state.mn.us

                                    ATTORNEY FOR STATE DEFENDANTS




                                    2
